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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CROWDSTRIKE, INC., )
)
Plaintiff, )
) C.A. No. l7-l46-GMS
v. )
) REDACTED PUBLIC
NSS LABS, INC., ) VERSION
)
Defendant. ) Demand for Jury Tn'al

SECOND AMENDED COMPLAINT

Plaintiff CrowdStrike, Inc. (“CrowdStrike” or “Plaintiff”), by and through counsel,

respectfully submits its Second Amended Complaint against the Defendant as follows:
I. PRELIMINARY STATEMENT

l. Defendant NSS Labs, Inc. (“NSS” or “Defendant”) has unlawfully accessed, copied,
used and misappropriated CrowdStrike’s Falcon Platfonn in Violation of federal law.

2. CrowdStrike’s Falcon Platform (“Falcon Platform”) is a proprietary software-as-a-
service cybersecurity product. lt consists of software, databases, computer systems, and user
interfaces hosted by CroWdStn`ke in the cloud (“Falcon Cloud”), and a lightweight software agent
that authorized users can download onto their endpoint devices (“Falcon Agent”). The Falcon
Cloud and Falcon Agent (together the “Falcon Platform”) work in communication with each other
to provide comprehensive cybersecurity protection and feedback to enterprise clients. The Falcon
Platform is password protected, and users must obtain CroWdStrike’s authorization before
accessing and using it.

3. NSS is a for-profit business in the cybersecurity market. It generates revenue by

testing cybersecurity products and monetizing the results. In addition to selling testing reports and

 

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marketing rights, including to the vendors mentioned in the reports, it uses information gleaned
from testing vendor products to build and market its own cybersecurity product, the Cyber
Advanced Warning System (“CAWS”).

4. NSS has a long history of questionable business practices, including
misrepresenting the Validity and independence of its tests and reports. According to other security
vendors, NSS misrepresents the scope of its testing practices, unfairly tests obsolete products
against up-to~date ones Without disclosing it, conceals which vendors tuned their products before
testing and Which did not, pressures vendors to pay for private testing in advance of “public”
comparative testing and exhibits bias in favor of vendors who pay for testing (i.e. “pay-to-play”).

5. ln 2016, CrowdStrike learned that NSS planned to conduct a competitive test of
certain cybersecurity products, sometimes referred to as advanced endpoint protection (“AEP”)
products. CrowdStrike Was interested in participating in such a test, but was hesitant because NSS

had a poor reputation and had never tested AEP products before. NSS told CrowdStrike that

CrowdStrik@_
_.

6. Under the circumstances, CrowdStrike decided to pay NSS to conduct two private
tests because NSS had never done this type of testing before; it Wanted to show NSS how to
properly set up and test the CrowdStrike product; and NSS represented that _
_. As part of the private tests, CrowdStrike gave NSS
access to the Falcon Platform pursuant to a Written contract for the limited purpose of conducting
those two tests. The agreement expressly prohibited NSS from using or disclosing the results of
those tests. Unfoitunately, the NSS private tests failed to adhere to NSS’ stated methodology and

exhibited critical flaws and quality control problems. NSS’ CEO, Vikram Phatak, and NSS’ Vice

 

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President of Operations, Lisa Owen, admitted that the private testing and results were flawed and
offered to perform a third test for free.

7. NSS then told CrowdStrike that the third test would have to wait because NSS was
too busy performing its comparative AEP test. Because NSS failed to address the admitted flaws
in its private testing of the Falcon Platform, among other reasons, CrowdStrike had no confidence
that NSS had the ability to perform a meaningful test and declined to authorize NSS to access and
use the F alcon Platform for the AEP competitive testing. CrowdStrike told NSS specifically on
multiple occasions that NSS was not authorized to access or use CrowdStrike’s Falcon Platform
for that purpose. CrowdStrike also sent NSS a copy of its standard Terms and Conditions of
service, highlighting that competitive analysis was prohibited and that no CrowdStrike customer
could authorize NSS to access the Falcon Platfonn for Such testing.

8. Undeterred, NSS conspired to illicitly and fraudulently obtain, and then use,
confidential CrowdStrike login credentials to access the Falcon Platform. NSS used those stolen
credentials eleven times over a Week to illegally and fraudulently access, copy and use the Falcon
Agent software, intrude into and alter data in a customer’s instance of the Falcon Cloud, and
manipulate the Falcon Platform to generate data about how it operates, so that NSS could market
and sell its testing, testing reports and associated marketing rights, and, on information and belief,
use the data to develop, market, and sell CAWS. By its unauthorized actions, NSS violated the
Computer Fraud and Abuse Act, infringed CrowdStrike’s copyrights, and misappropriated
CrowdStrike’s trade secrets.

9. CrowdStrike caught NSS’ unlawful intrusion in the middle of the competitive
testing of the CrowdStrike Falcon Platform, and disabled NSS’ use of it. NSS nonetheless

proceeded to advertise and publish the test results, even though it knew that the testing (a) was

 

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incomplete, (b) would have produced different results if completed, (c) was not independent or
unbiased, (d) did not follow NSS’ stated testing methodology, and (e) was flawed like the private
tests of the Falcon Platform. The statements NSS published about the Falcon Platform, NSS’
methodology, and NSS ’s independence and lack of bias, Were false and misleading, and were made
willfully and maliciously by NSS to promote its reports and CAWS product for its own financial
gain, in violation of the Lanham Act.

l(). CrowdStrike filed its original complaint in this action on Febiuary 10, 2017. Since
then, NSS has announced that it intends to perform further competitive AEP group testing in late
2017, for publication in 2018. NSS recently attempted to obtain access to the Falcon Platform,
including indirectly through a reseller. And, although NSS has stated that CrowdStrike products
Will not appear in that upcoming AEP group test, when confronted with these attempts to access,
NSS still maintains it “has the legal right to publish public tests of all products in the market” and
has refused to give assurances that it will not access or use the Falcon Platform. NSS’ continuing
threats to access and use the Falcon Platform without CrowdStrike’s authorization, and publication
of false and misleading reports about CrowdStrike, if not enjoined, Will continue to cause

immediate and irreparable harm to CrowdStrike’s business.
II. PARTIES

ll. CrowdStrike is a corporation formed under the laws of the State of Delaware with
its principal place of business located in Sunnyvale, California.

12. Upon information and belief, Defendant NSS was and is a corporation organized
and existing under the laws of the State of Delaware, with its principal place of business in Austin,

Texas.

III. JURISDICTION AND VENUE

l3. This Court possesses subject matter jurisdiction over CrowdStrike’s claims under

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28 U.S.C. § 1331 and 28 U.S.C. § 1367.

14. Venue is proper in the United States District Court for Delaware under 28 U.S.C.
§ 87 and 28 U.S.C. § 139l(b)(1) because the Defendant is incorporated in Delaware, and the
contract between the parties stipulates that each party shall submit to the exclusive and personal

jurisdiction of the federal courts located in New Castle County, Delaware.

IV. FACTUAL ALLEGATIONS
A. Plainti Cro dStrike

15. CrowdStrike is a privately-owned cybersecurity company founded in 2011. The
Falcon Platform is its flagship product, resulting from _ in
development and years of work by a staff of highly talented engineers. The Falcon Platform is
deployed by high-profile enterprises around the world, including financial institutions, health care
providers, and energy companies, and has successfully stopped high-profile attacks that other
products could not. CrowdStrike’s success, in large part due to its Falcon Platforin, has made it a
prominent figure in the cybersecurity industry.

16. CrowdStrike controls all access to its Falcon Platform through confidential login
credentials and licensing agreements To use the Falcon Platfoim, licensed users must log into the
Falcon Platform and obtain a copy of the Falcon Agent for each “endpoint device” (e.g., computer,
laptop, etc.). To begin, a system administrator for the licensed customer receives a Falcon Platform
link (usually in an email from CrowdStrike) to activate the account. The system administrator sets
a password and dual-factor authentication, and must review and accept the Falcon Platform click-
through agreement, before downloading and copying the Falcon Agent to endpoint devices. The
system administrator can authorize and add other users _, Who
can then obtain Falcon Agent software for installation on the customer’s systems pursuant to the
license. After installation, the Falcon Agent communicates with the customer’s instance of the

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F alcon Cloud to complete the set-up process

l7. After installation, the F alcon Agent’s detection logic monitors and analyzes activity
on the endpoint device, and sends certain data to the customer’s instance of the Falcon Cloudr
When warranted, such as when a threat is detected, applications in the Falcon Cloud direct the
F alcon Agent to increase or alter its data collection and provide more information to the customer’s
instance of the Falcon Cloud for analysis Collected data is combined With proprietary threat
information in CrowdStrike’s “"l`hreatGraph” database in the Falcon Clcud, Which uses behavioral
pattern matching techniques, machine learning, artificial intelligence, detection logic, user input,
and other information tc detect patterns indicating possible attacks

18. A customer’s system administrator logs into a web-based riser interface ("“Falcon
Dashboard”) using confidential logiii credentials to view its Falcon Platform data, statistics and
analysis Oii the Palcon Dashboard3 the administrator Will find confidential information on what
threats were detected, _ 'l'ln‘ough
the Falcon Dashboard, the system administrator can configure Falcon Platfoiin settings and affect
how the system reacts to malware and other tlireats. For example, an administrator can enable the
prevention system and choose between different machine learning methods for identifying
potential malware. An administrator can also set different tlireslioids for malwai'e detection and
prevention, such as Disabled, Cautious, Mcderate, or Aggressive. A customer may also take raw
data from the Falccn Platfoiin and access it elsewhere (e.g., through a third'party threat
intelligence platfoiin) by leveraging application progrannning interfaces (“APIs”) to transfer the
data. The information a customer receives through an API from the Falcon Platform depends on
the customer settings

19. The Falcon Platfcim may also include optional functionality and services For

 

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example, it may include Falcon Spotlight, which provides continuous, real-time assessment of the
vulnerability of a system’s endpoints; the Falcon Discover solution, Which provides a real-time
inventory and assessment of applications in the system, enabling administrators to identify
vulnerable software for remediation; and, Falcon OverWatch, a proactive search, investigation and
advising service provided by CrowdStrike’s team of elite security professionals

20. The Falcon Agent is copyrighted software, registered in the United States
Copyright Office as No. TX 8-447-667. The copyright is owned by CrowdStrike.

21. The Falcon Agent and components of the F alcon Cloud constitute and incorporate

trade secrets developed by CrowdStrike. CrowdStrike’s trade secrets include: -

_. These are all matters not generally known,

subject to CrowdStrike measures to keep them confidential, and that give CrowdStrike an
economic advantage over competitors For example, a competitor With specific knowledge how

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advertise and sell its own product

B. Defendant NSS Labs

22. NSS is a for-profit business that monetizes comparative (published) and private
testing services and sells its own cybersecurity product NSS tests and ranks competitors’
cybersecurity products in order to sell reports, subscriptions and marketing rights related to those
rankings. lt uses this publicity to sell contracts for private testing to vendors that may be the subject
of comparative testing. NSS also uses data it collects during testing to populate, develop, market
and sell its own competitive CAWS cybersecurity product

23. NSS generally announces a group test many months before it is set to start For

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example, NSS announced its first AEP test in Febiuary 2016 indicating the test would begin many
months later, and run for months NSS announced a second round of AEP testing in April 2017,
stating it will begin in the second half of 2017 and the results will be announced in 2018. ln the
time between announcement and completion of the comparative test, NSS markets and sells
confidential “private” tests to vendors who it wants to participate in the group comparative test.
On information and belief, NSS sells such private tests for_,
and favors paying vendors in its comparative tests

24. When NSS completes a group test, it publishes a very high-level product
comparison score for free download without any detail underlying the score, to advertise its more
detailed reports that NSS sells for thousands of dollars Specifically, it sells detailed individual
reports about a single vendor’s results, as well as enterprise subscriptions that provide access to a
fuller range of vendor data and comparative reports The high costs of the paid reports mean that
many corporations do not buy the paid reports and simply rely on the free high-level product
comparison score When assessing Which products to purchase.

25. NSS also sells marketing rights to the tested vendors who score well. According to
NSS, it will sell vendors the rights to share an NSS Labs report with their customers and prospects
for a period of twelve months in various configurations ln 2014, a vendor reported that NSS asks
vendors to pay fees that can exceed $100,000 for such marketing rights Based on this business
model, it is necessary for NSS to make sure numerous vendors participate in the group test and
that some score well and others perform poorly.

26. Numerous vendors have complained that NSS misrepresents the validity and
independence of its reporting business For example, in 2010, Google claimed that an NSS report

rating Microsoft’s Edge browser as superior to Google’s Chrome browser was biased because

 

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Microsoft was a paid sponsor of the test, the test used an outdated version of Chrome and NSS
Would not make the testing methodology sufficiently public so that it could be independently
verified.1 When NSS released a similar report in 2017 favoring Microsoft, the results were not
surprising to anyone Who has followed NSS’s tests over the years because it regularly awarded
Microsoft browsers the top spots in its malware-blocking evaluations2 ln 2014, cybersecurity
companies FireEye and Palo Alto Networks criticized NSS’ business practices on the basis that
NSS’s sale of marketing rights to the reports incentivized NSS to lower the testing bar to increase
the number of Vendors who would buy those rights, and that NSS’s testing was biased because it
employed out-of-date and improperly configured versions of leading products whose vendors
declined to participate3 NSS is widely known as a pay-to-play testing company, meaning its
testing results are biased against companies that do not pay it for testing.

27. NSS also uses the information it learns from testing vendor products to populate,
develop, market, and sell its own CAWS Threat Protection Platform. According to NSS’ Chief
Marketing Officer, Gautam Aggarwal, NSS used information from its point-in-time validation
testing (e.g. “private” or comparative tests) to build CAWS 3.0. An NSS patent application on its
“Threat and Defense Evasion Modeling System and Method” elaborates that the system is “based
on prior testing results” stored in a database. See U.S. Patent App. 2015/0310217 1[ 28. NSS
describes building that system from “empirical testing of the products,” by creating “databases

containing empirical test result data on exploits that bypass security products.” Id., 1111 40, 47. A

 

1 See https://www.pcmag.corn/article2/0.28 l 7,2374344,00.asn.

2 See https://www.coinputeiworld.com/article/3233287/web-browsers/inicrosofrs~anti-malware-
sniffing-service-powers-edge-to-top-spot~in-browser-blockinQ-tests.html.

3 See littp://www.crn.com/nrint/news/securitv/Z)00072250/palo-alto-networks-fireeve-criticize-
nss-labs-testing-firin-defends-itself.htm;
https://researchcenter.paloaltonetworks.corn/20l4/09/i'esponse-recentlv-released-20l4-nss-next-
generation-firewall-comn arative-analvsis/.

 

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CAWS user then inputs a selection of security products it uses, and receives information on “the

 

efficacy” of that selection, including what vulnerabilities may have “the ability to bypass each
security product selected.” Id., 111[ 28,44. On information and belief, the NSS patent application
describes how NSS uses information from vendor testing to build the CAWS system.

28. On information and belief, NSS sells access to the CAWS Platform, specifically
release 3.0, that uses information from NSS’ testing of CrowdStrike’s Falcon Platform. NSS
advertises an individual license to use CAWS in the Advanced Endpoint Protection (AEP)
category for $3,490 per year. NSS advertises that it sells access to all the CAWS security
categories for over ten thousand dollars

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29. In early 2016, CrowdStrike provided NSS labs with limited access to its Falcon
Platform for the sole purpose of performing private, confidential testing. The parties entered into
a number of agreements that expressly reserved CrowdStrike’s ownership and control of its
confidential information and stated that comparative testing of the Falcon Platforrn was
unauthorized

30. On or about January 5, 2016, CrowdStrike and NSS executed a Mutual Non-
Disclosure Agreement attached as Exhibit 1 (the “NDA”). The NDA _
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_. NDAttt,t,tt- TtttttttttND/t,NSS

 

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31. Similar provisions were incorporated into the private testing agreement for the
Falcon Platform executed by CrowdStrike and NSS around April ll, 2016, attached as Exhibit 2

(the “Private Agreement”).

32. Under the Private Agreement, CrowdStrike retained_
__ The Private Agreement incorporates confidentiality terms from NSS’
online terms of service (“TOS”). Private Agreement at 1. The TOS, attached as Exhibit 3,
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_ TOS 11 2. “Confidential lnformation” is defined broadly in these
prattth tt_
_ Tos jj 2. Conadentiai information
specifically includes, but is not limited to, _
_ Id. Separately, the Private Agreement reaffirms that the results of the
test to be provided by NSS to CrowdStrike pursuant to the engagement _
_ Private Agreement, l(e).

33. The Private Agreement also makes clear that CrowdStrike’s-
_
_. tt-,EX-Att t-

34. As the Private Agreement shows, CrowdStrike’s _
_. ttttxtmttt,
CrowdStrike was required to provide_
_. lt t t<t). itt tttttttt
cttwtttttt tt tttttttt_
_. According to the Private Agreement, the_

ll

 

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_. 1a tt t ttt>-
tt NSS tttt trtttttt _
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would not, under any circumstances,

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36. The Private Agreement provides remedies in

_ Private Agreement 6(b).

37. The Private Agreement specifically provides for remedies of_

_ tt tt<t>-<t>.
D. NSS’s Private Testing of CrowdStrike’s Falcon Platform

38. Around mid-2016, NSS provided private testing results on the Falcon Platform’s
advanced endpoint detection features to CrowdStrike. NSS’ report demonstrated severe flaws and
quality control issues and NSS’ failure to adhere to its stated methodologies For example, NSS
had incorrectly identified a large percentage of samples as malicious NSS’ results also did not
match what the Falcon Platform actually reported. For example, NSS ’ report stated that the Falcon

Platform failed to detect some malware in cases where the Falcon Platform logs recorded a

detection. On information and belief, these errors Were caused by NSS _
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_
_
When CrowdStrike pointed out the problems, NSS promised to fix the issues in a second private
test.

39. Later in 2016, NSS conducted additional private testing and provided a second
report to CrowdStrike. NSS’ second round of private testing exhibited similar flaws and quality
control defects as the first test For example, almost 25% of the “malware” NSS used in the testing
was not actually malicious, including prominent and widely-used programs like Microsoft’s Skype
and Mozilla’s Firefox that no reputable testing firm Would claim to be malware. NSS conceded
that that the Falcon Platform received a low performance score because it had failed to identify
programs such as Skype and Firefox as malware, even though those programs Were not malware.
Furthermore, NSS’ results again did not match those reported by the Falcon Platform.

40. On January 18, 2017, Dmitri Alperovitch, Chief Technology Officer and co-founder
of CrowdStrike, discussed these results with Vikram Phatak and Jason Brvenik of NSS. Mr.
Phatak admitted that the second round of NSS testing on the Falcon Platform had not complied
with NSS’ own testing standards Mr. Phatak conceded that NSS’ inappropriate labelling of
widely-used programs such as Skype and Firefox as “malware” made the tests flawed and skewed
the results Alperovitch Decl. 11 23, attached as Exhibit 7.

41. To address NSS’ repeated testing failures, Mr. Phatak offered CrowdStrike a third
round of testing Without charge. However, NSS refused to perform that third test at the time
because, as it explained, it was focusing its efforts on a scheduled group comparative test of all
AEP vendors including CrowdStrike. Id. 11 24.

E. CrowdStrike Refuses to Particigate in “Public” Testing

42. As it had indicated previously, CrowdStrike would not and did not authorize access

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to the Falcon Platform for comparative testing given the fundamental flaws With NSS’ testing
methodologies

43. Nonetheless, Mr. Phatak stated that NSS had obtained credentials to access the
Falcon Platform through a third party, and intended to use them to perform a comparative test and
sell the report publicly, irrespective of CrowdStrike’s authorization Id.

44. ln response, Mr. Alperovitch informed NSS that CrowdStrike did not consent, and
had expressly declined, to participate in any comparative testing of CrowdStrike products He also
expressly told NSS that use of the Falcon Platform for comparative testing through a CrowdStrike
customer violated CrowdStrike’s standard customer Terms and Conditions of service (and the
Private Agreement), and that NSS was otherwise unauthorized by CrowdStrike. Id. 11 25.

45. As such, no later than lanuary 18, 2017, NSS and its CEO, Mr. Phatak, were aware
that (l) CrowdStrike’s Terms and Conditions did not permit comparative testing; (2) that NSS’
testing would breach CrowdStrike’s Terms and Conditions; (3) that any access by NSS of
CrowdStrike’s Falcon Platform Was unauthorized; and (4) that the copying and use of any
CrowdStrike software by NSS was unauthorized

46. On January 19, 2017, Mr. Alperovitch sent Mr. Phatak an email reiterating these
points, reconfirming that “to the extent a customer of ours provided you with our software it would
be a direct violation of our Terms of Seivice,” and providing an electronic link to CrowdStrike’s
Terms and Conditions of service. Id., Ex. 8. Mr. Alperovitch also excerpted in full the
“Restrictions” portion of the Terms and Conditions, which state that a person “may not access or
use the Products: (i) if you are a CrowdStrike Competitor or on behalf of a CrowdStrike Competitor,
or (ii) to perform any competitive analysis on the Products.” Id. The Terms and Conditions

prohibit a user to “sublicense, distribute or otherwise transfer the Products to any third party” or

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“allow third parties to access or use the Products” except for certain expressly permitted “lnternal
Use.” The Terms and Conditions expressly prohibit any “attempt to gain unauthorized access to
the Products or their related systems or networks.” Id., Ex. 6 11 3.1, 3.2.

47. ln disregard of these limitations on a CrowdStrike customer’s use of CrowdStrike’s

 

intellectual property, on January 19, 2017, Mr. Phatak responded that NSS took “a different view”

 

of the situation, and would not be deterred from its comparative test plans Id., Ex. 8.

48. On January 27, 2017, CrowdStrike’s attorney sent a letter to NSS, demanding that
NSS not use CrowdStrike Falcon Platform in a comparative test, and demanding the return or
destruction of all copies of CrowdStrike’s Falcon Platform software, and any unauthorized testing
data. Exhibit 8. He reiterated that any access or use by NSS of CrowdStrike software obtained
from a CrowdStrike customer would be unauthorized, breach NSS’ agreement with CrowdStrike,
and breach the customer’s Terms and Conditions of service With CrowdStrike. Id.

49. NSS refused to return CrowdStrike’s Falcon Platform and other Confidential
Information in direct violation of the NDA, Private Agreement and the customer’s Terms and
Conditions of service, and proceeded With its plans to intrude into CrowdStrike’s Falcon Platform

without authorization

F. NSS’ Consgiracy to Fraudulentl}g and Unlap)fullg Accessl Cogy and Use the
Falcon Platform

50. Because CrowdStrike refused to give NSS access for comparative testing, NSS
orchestrated a scheme to covertly and fraudulently obtain CrowdStrike login credentials NSS
engaged third parties to obtain CrowdStrike credentials and provide those to NSS, so it could
fraudulently and illegally access CrowdStrike’s Falcon Platform.

51. ln or before December 2016, on information and belief, NSS engaged David

Thomason, of Thomason Technologies LLC (“Thomason”), to find a company willing to contract

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with CrowdStrike for a Falcon Platform pilot license under the guise of being a potential customer.
On information and belief, David Thomason was the mark because he was a former colleague of

NSS CTO Jason Brvenik. Apparently to induce the company to participate in its unlawful scheme,

NSS agreed _

52. On or about lanuary 5, 2016, Thomason submitted a fraudulent purchase order
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CrowdStrike’s proprietary Falcon Platform, attached as Exhibit 4. According to NSS, Thomason
knew that the purchase order was for NSS to gain access, but Thomason concealed that from the

purchase order to deceive CrowdStrike into making the sale.4 As part of the fraudulent purchase,

 

- and Thomason agreed to CrowdStrike’s Terms and Conditions, attached as Exhibit
5. As described above, those Terms and Conditions limited use of the Falcon Platform to the
customer’s internal use, and prohibited use of the Falcon Platform (1) by or on behalf of any

CrowdStrike competitors, (2) for competitive analysis, or (3) by any third parties except for certain

 

customer “Internal Uses.” The CrowdStrike quote/order, signed by Thomason, explicitly stated

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53. According to NSS ’ Vice President of Operations Lisa Owen, _ and NSS
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evidencing NSS’s conspiracy to defraud CrowdStrike. On information and belief, Thomason also
provided CrowdStrike’s confidential pricing information to NSS.

54. CrowdStrike was never paid for_ Falcon Platform pilot license.

 

4 See Transcript of February 10, 2017 Hearing, at 10:12-15; See also Dkt. No. 8, 1[ 21.
claims it did not authorize NSS to access the software. Exhibit 6.

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55. Around lanuary 25, 2017, CrowdStrike created confidential Falcon Platform

credentials for Thomason at_ request To do this, CrowdStrike-
_
_

56. On information and belief, Thomason provided to NSS the fraudulently obtained
login credentials to access_ instance of the Falcon Platform.

57. CrowdStrike’s internal computer records demonstrate that someone created an
account for a Thomason user on January 25, 2017 and logged in once. The user enabled two-
factor authentication pursuant to CrowdStrike’s security protocol.

58. Using that Thomason account, someone then created a second user account under
the name “Randy” on lanuary 25, 2017, again enabling two-factor authentication, As described

above, pursuant to CrowdStrike’s protocols, a new user must log in and enable two-factor

authentication and then click-through CrowdStrike agreements before downloading the Falcon

Agent On information and belief, that user must have_
_
_.

59. CrowdStrike’s internal computer records show ll logins by the user “Randy” on
January 25th, 26th, 28th, 29th and 31st NSS has never denied that this account was used and that
these logins were made by an NSS employee There was an NSS employee named Randy in its
Austin facility.

60. On information and belief, NSS downloaded and copied the Falcon Agent on NSS
machines, and logged into and accessed the Falcon Platform without authorization and using the

fraudulent credentials, to perform comparative testing during the period of January 25-31, 2017.

 

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61. On information and belief, NSS individuals who had access to CrowdStrike

confidential information through the private test agreement were also involved in the comparative

tests involving CrowdStrike’ s Falcon Platform. For example, NSS ’ _
_ tnt tt tt tttt tttttt at tt “Attttt’ tt ttt

Advanced Endpoint Protection Comparative Repoit Security Value Map, dated Februaiy 14, 2017,
including CrowdStrike products

62. On information and belief, during this period, NSS subjected endpoint device(s)
loaded with the Falcon Agent to manufactured and fake attacks On information and belief, the
Falcon Agent collected information from and about these fake attacks and sent it to the Falcon
Cloud. On information and belief, the Falcon Cloud requested additional information about the
fake attacks from the Falcon Agent, and collected that information

63. During the period of testing, NSS misappropriated and misused CrowdStrike’s trade
secrets by obtaining and using CrowdStrike’s confidential login credentials, downloading and
using CrowdStrike’s F alcon Agent software, and accessing and using the Falcon Cloud, including
ThreatGraph, Falcon Dashboard, and other elements of the Falcon Platform, all without
authorization ln addition, NSS misappropriated and misused CrowdStrike’s trade secrets through
performance of its testing, which involved accessing, acquiring and using information on how the
elements of the Falcon Platform handle certain threats and how they interact With each other to
provide comprehensive security. For example, NSS’ unauthorized testing enabled it to access
information on the capabilities and scope of the F alcon Platform, including how its components
respond to certain threats under certain conditions Similarly, by observing and manipulating the

Falcon Dashboard user interface, NSS could collect information on Falcon Platform methods and

operation exposed there, including information on _

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_. Such information on CrowdStrike’s methods, operation, and capabilities
is competitive information that NSS could use to prepare reports that CrowdStrike customers and
competitors would buy, and that the latter could leverage to sell their own products NSS could
also use such competitive information to build and sell its CAWS product

64. Because of NSS’s unauthorized intrusion and introduction of fake attacks into the
CrowdStrike Falcon Platform, CrowdStrike Was forced to divert computing and personnel
resources in response. Additionally, data on the fake attacks NSS initiated Was introduced into
and altered data in _ instance of the Falcon Platform. A - system
administrator using the Falcon Dashboard during the testing would have seen malware and new
computers inexplicably appearing in their environment, and received an incorrect and skewed
threat assessment for its environment

65. Because of NSS’s unauthorized intrusion and introduction of fake attacks into the
CrowdStrike Falcon Platform, Falcon OverWatch was forced to expend resources over January
28-30, 2017 detecting, investigating and responding to NSS’ unauthorized access

66. ()n January 31, 2017, after detecting NSS’ unauthorized intrusion into the system,
CrowdStrike disabled the Thomason account, including the credentials for “Randy.” Many
segments of NSS’ testing were not complete when the account was disabled. Dkt. No. 8, Ex. 1.

67. When CrowdStrike contacted David Thomason as part of its investigation, he was
not initially forthcoming about how NSS had obtained access to the system. After a number of
attempts, Mr. Thomason finally admitted that NSS had approached him and asked him to arrange

for a client to buy a Falcon Platform license so that NSS could covertly use it. CrowdStrike asked

 

Mr. Thomason to tell NSS to cease and desist its use of CrowdStrike’s systems

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68. On information and belief, shortly thereafter, Thomason contacted NSS and
instructed NSS that the results of any testing done on CrowdStrike’s software were not to be
published and all data regarding the testing of CrowdStrike must be deleted.

69. On February 8, 2017, _ emailed NSS, first saying
that NSS had no authorization, then clarifying that NSS had never had authorization, to use
_ copy of CrowdStrike’s software. The email instructed NSS to delete any tests or
data resulting from the use of _ copy of CrowdStrike’s software Exhibit 6.

70. On or around February 14, 2017, NSS published a number of free and paid AEP
reports, including technical and pricing data on the CrowdStrike Falcon Platform.

71. Shoitly thereafter, NSS contacted CrowdStrike customers, telling them that
CrowdStrike’s products had issues and were leaving them vulnerable, specifically suggesting to
them that they should buy NSS’ report to learn more.

72. Shortly after its comparative testing, on or around March 2, 2017, NSS released a
beta version of its CAWS 3.0 product, announcing the official product on July 18, 2017. NSS’
advertising promoted that the CAWS 3.0 product “leverages [NSS’] unmatched expertise in
security product testing,” and that it would address customers’ needs for “empirical data” on their

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security tools, enabling them to see how security tools behave under “out-of-the-box, Vendor-
recommended,” and “enterprise-specific” settings, providing insights into threats that might
impact programs and computer systems in an enterprise’s environmentl Similar capabilities are
offered by CrowdStrike, including its Falcon Spotlight, which gives security teams a continuous
and real-time assessment of the vulnerability exposure of their endpoints, and Falcon Discover,

which provides a real-time inventory and assessment of applications in the system.

73. On information and belief`, CAWS 3.0 contains testing data relating to

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CrowdStrike’s Falcon Platform, and that information was obtained and used without authorization
NSS further misappropriated CrowdStrike trade secrets to the extent it accessed and used them to
develop CAWS 3.0, such as how the Falcon Platform handles certain threats, how it operates in
certain modes, or under different settings On information and belief, NSS desired, sought, and
obtained access to F alcon Platform raw API data for incorporation into CAWS.

74. Both NSS’ private and illicit comparative testing of CrowdStrike’s Falcon Platform
fell short of the Anti-Malware Testing Standards Organization (AMTSO) Fundamental Principles
of Testing, although NSS has previously claimed to follow AMTSO guidelines and best practices

G. NSS False and Misleading Statements
75. On and after February 14, 2017, NSS published a number false and misleading

statements about its AEP testing and CrowdStrike’s Falcon Platfoim, including mispresenting the
validity of its ranking of the Falcon Platform and its adherence to its own AEP testing methodology

76. For example, NSS published on its website a free, high-level summary document
called the “AEP Comparative Report Security Value Map” and a “Security Value Map graphic.”
NSS uses these free summary documents to advertise and sell access to the full, underlying paid
reports, as discussed above. However, many customers use the free Value Maps in their
competitive sales cycle, and never pay for the full reports These two published documents are
false and misleading in a number of ways

77. The Security Value Map materials give CrowdStrike’s Falcon Platform a very poor

rating, but fail to mention that those ratings were based on incomplete and flawed data, and that

 

they would have been different if testing was complete. Specifically, the document gives Falcon t
Host (the prior name for Falcon Platform) a summary product guidance rating of “Caution,” but §
nowhere mentions the known and admitted flaws in that rating. The graphic uses a red triangle 5

icon labelled as “partial” for the CrowdStrike data, but does not explain what that means

 

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78. Unlike the free Security Value Map documents, the full paid report released on
February 14, 2017 acknowledges at least some of the flaws in the CrowdStrike Falcon Platform
rata _
Exhibit 9 at 2 (emphasis added). But even this purported disclaimer is false and misleading ln

the draft report NSS provided the Court in response to CrowdStrike’s request for temporary

restraining order, NSS acknowledged that the final rating_
_ Dkt. No. 8, Ex. 1 at 2 (emphasis added). But the

consumers who only review and use the free Value Map documents do not receive any such notice.
79. The unqualified “Caution” rating in the Security Value Map document is also false
and misleading because NSS’ Test Methodology Advanced Endpoint Protection (AEP) vl .0

document (“AEP Methodology”) states that a “Caution rating from NSS indicates that a product

has performed poorly.” But as above, NSS has acknowledged that-
_ Dtt Nt- t tx 1 tt 2-

80. On information and belief, the differences between the publicly available free
Security Value Map documents and the paid report and draft report demonstrate that NSS’
misrepresentations were willfully false and misleading

81. NSS also falsely stated that the testing of the CrowdStrike Falcon Platform followed
NSS’ testing methodology, For example, on page 8, the Security Value Map documents’ “Overall
Ratings” do not follow the AEP Methodology, which states that all summary product guidance
ratings will be based on five evaluation criteria. However, the ratings in the Security Value Map
document and graphic for CrowdStrike were only based on two, not five as advertised Again,

NSS concealed this in the free version of the documents

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82. Additionally, on information and belief, NSS also did not follow the AEP
Methodology in setting up and configuring the Falcon Platform for the comparative test. The AEP
Methodology states that the “AEP product should be deployed in the ‘default’ prevention and/or
protection mode . . . based on common ‘best practices’ recommendations adopted by enterprises . ..
Product configuration, policies, and controls (access and application) that are implemented on the
agent must mimic true enterprise endpoint deployments.” But NSS’ comparative test did not
mimic a true enterprise deployment: CrowdStrike’s review of the telenietry and audit logs shows
that prevention settings were turned off during the entire test period, far from mimicking a true
enterprise deployment But even though no malware prevention can occur with the prevention
settings disabled, NSS’ report still claims that certain percentages of malware were prevented
during testing, further demonstrating the flaws with NSS’ testing and scores for the Falcon
Platform. On information and belief, NSS knowingly misrepresented that the settings it used for

CrowdStrike’s Falcon Platform mimicked enterprise deployment For example, NSS’ private test

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__ Even if NSS did not use settings learned from

CrowdStrike in its comparative test because those were CrowdStrike’s Confidential lnformation,
it knew that complete disabling of the prevention settings did not represent the default deployment
mode of the Falcon Platform, the mode NSS advertises it used

83. NSS’ public statements about the way it accesses products for testing are also false

and misleading NSS states that “vendors do not get to choose whether or not they will be tested”

 

and “if they decline. .. products for testing are typically purchased, but may also be donated by

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interested parties, and We will conduct the testing independentlyl But neither of those scenarios

 

5 https://www.nsslabsconi/securitv-test/nss-labs-test-nolicies/.

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describes how NSS obtained Falcon access for its test after CrowdStrike declined to participate
NSS’ attempt to purchase the tool was blocked So, NSS engaged third parties to fraudulently
obtain CrowdStrike credentials and secretly provide them to NSS, so it could fraudulently and
illegally access CrowdStrike’s Falcon Platform. Even had its license purchase been bona-fide,
_ had no right to provide access to NSS for testing and denies that it provided NSS
access

84. NSS also knowingly published a false and misleading numerical “security
effectiveness score” for CrowdStrike in its free and paid reports As noted, NSS’ CEO Mr. Phatak
admitted that NSS’ inappropriate labelling of non-malicious programs as malware in private
testing did not comply With NSS’ own standards and made the testing flawed NSS refused to
delay the AEP comparative testing to fix those issues On information and belief, the comparative
test had similar flaws, and therefore NSS’ security effectiveness score for CrowdStrike, obtained
and calculated using tests that NSS knew and admitted Were flawed, was false and misleading

85. NSS’ Security Value Map documents, and comparative reports, are also false and
misleading where they directly compare the “security effectiveness” of different vendors’ tools
Given that NSS’ test of the Falcon Platform was admittedly incomplete, the reported scores for the
Falcon Platform are based on a different number of samples and different sample set than the other
vendors’ tools Any comparison between them is therefore misleading Other vendors have also
complained about NSS’ undisclosed use of different sample sets for the different tools6

86. Although CrowdStrike has stated its belief that NSS’ testing results Were

incomplete and invalid, potential CrowdStrike customers are still confused, misled, and have

 

sought more information from CrowdStrike about the tests. CrowdStrike personnel and resources

 

6 See, e.g., https://www.eset.com/us/about/newsroom/corporate-blog/eset-recounts-experience- f
with-nss~labs-and-aep-10-test/.

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have been diverted to responding to customer questions about NSS’ false and misleading
publications, and some sales have been lost as a result Moreover, the damage caused by NSS’
false and misleading statements is exacerbated because, unlike reputable testing companies, NSS
does not sufficiently disclose its testing methodologies, or its adherence to them in testing, thereby
making it impossible for vendors to verify and/or refute results (particularly where vendors have

not participated in a private test).7
V. CAUSES OF ACTION

COUNT I
(Violation of the Computer Fraud and Abuse Act (18 U.S.C. 6 1030))

87. CrowdStrike hereby restates the averments contained in the foregoing paragraphs

as if fully set forth herein

 

88. The Falcon Platform is password protected and access requires CrowdStrike
authorization To use the Falcon Platform, a user must enter credentials provided by CrowdStrike
to access computers hosted and operated by CrowdStrike, first to obtain and install the Falcon
Agent locally, and then to access system feedback through the Falcon Dashboard. During
operation, the Falcon Agent on a user device communicates with the Falcon Cloud, also hosted on
computers operated by CrowdStrike.

89. Such CrowdStrike computers are used in and affect interstate commerce or

 

communications
90. CrowdStrike expressly prohibited NSS from accessing the Falcon Platform with
any third party’s credentials

91. NSS knew it was not authorized to access the Falcon Platform With a third party’s

 

7 See, e.g., https://www.eset.com/us/about/newerom/corporate-blog/esets-position~on-nss-labs-
advanced-endnoint-protection-1 0-test- l/.

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credentials, but did so anyway.

92. Through NSS’ orchestrated scheme, it aided and abetted the trafficking of
confidential login credentials and it fraudulently accessed the CrowdStrike Falcon platform
without authorization

93. By means of its unauthorized access, NSS obtained information about the operation
of the Falcon Platform.

94. NSS’s unauthorized access damaged CrowdStrike, including but not limited to
iinpacting the integrity of data available in the customer’s instance of the Falcon Platform and
diverting and unnecessarily expending system resources

95. In response to NSS’ unauthorized access, CrowdStrike conducted an investigation
to determine the circumstances of the unauthorized access, the damage such access caused, and
how to respond to halt the unauthorized access and mitigate the damage This investigation and
remediation utilized significant company resources, including the time and attention of senior
executives and employees, resulting in losses well in excess of $5,000.

96. As a direct and proximate result of NSS’ unauthorized access, CrowdStrike has
been damaged, and is likely to continue to be damaged, and NSS has been unjustly enriched
CrowdStrike is entitled to compensatory damages and disgorgement of any and all profits NSS
made as a result of its Wrongful conduct, in amounts to be proven at trial, an injunction prohibiting
NSS from accessing the Falcon Platform without CrowdStrike’s explicit authorization, and other
equitable relief.

97. NSS’ actions have caused and Will continue to cause CrowdStrike irreparable harm
if not preliminarily and permanently enjoined

98. CrowdStrike has no adequate remedy at law.

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COUNT II
fConrig/it In[ringement (17 U.S.C. § 501 et se_q.ll

99. CrowdStrike hereby restates the averments contained in the foregoing paragraphs
as if fully set forth herein

100. At all relevant times, CrowdStrike has been the producer and owner of the Falcon
Platform, including the Falcon Agent software code.

101. CrowdStrike holds a copyright registration certificate from the United States
Copyright Office for the Falcon Agent software code.

102. By its conduct alleged herein, NSS infringed the copyright in the Falcon Agent
software code, including by downloading and thereby copying the Falcon Agent software onto
NSS computers, and using that software

103. NSS knew that the infringed work belonged to CrowdStrike and that NSS did not
have permission to copy the work. NSS’ acts of infringement were willful and in disregard of and
with indifference to CrowdStrike’s rights

104. On information and belief, NSS profited from its willful infringement by using the
CrowdStrike Falcon Platform to develop, market and sell its testing reports and its CAWS product

105. As a direct and proximate result of NSS’ infringement CrowdStrike has been
damaged, and is likely to continue to be damaged, including by damage to its reputation, loss of
goodwill, and loss of sales, and NSS has been unjustly enriched CrowdStrike is entitled to
compensatory damages and disgorgement of any and all profits NSS made as a result of its
wrongful conduct, in amounts to be proven at trial, and other equitable relief.

106. NSS’ actions have caused and will continue to cause CrowdStrike irreparable harm

 

if not preliminarily and permanently enjoined

 

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107. CrowdStrike has no adequate remedy at law.

COUNT III
(Misappropriation of T rude Secrets (18 U.S. C. 6 1832 et seq.))

108. CrowdStrike hereby restates the averments contained in the foregoing paragraphs
as if fully set forth herein

109. CrowdStrike’s Falcon Platform is used in, and intended for use in, interstate
commerce

110. The Falcon Platform contains CrowdStrike’s trade secrets, including those outlined
above. CrowdStrike’s trade secrets are not generally known, are subject to reasonable measures
to keep them confidential, and give CrowdStrike an economic advantage over competitors

lll. NSS misappropriated CrowdStrike’s trade secrets by knowingly stealing such
information, taking it Without authorization, and obtaining it by artifice or deception

112. NSS also misappropriated CrowdStrike’s trade secrets by, without authorization,
knowingly taking using, altering, transmitting communicating and conveying such information

113. NSS also misappropriated CrowdStrike’s trade secrets by knowingly possessing
such information knowing it was stolen and obtained without authorization, and refusing to return
it to CrowdStrike.

114. NSS engaged in the foregoing acts with the intent to convert CrowdStrike’s trade
secrets for NSS’ own economic benefit and knowing such acts would injure CrowdStrike.

115. As a direct and proximate result of NSS’s misappropriation, CrowdStrike has been
damaged, and is likely to continue to be damaged, including by damage to its reputation, loss of
goodwill, and loss of sales, and NSS has been unjustly enriched CrowdStrike is entitled to
compensatory damages and disgorgement of any and all profits NSS made as a result of its

wrongful conduct, in amounts to be proven at trial, and other equitable relief.

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116. NSS’ misappropriation was knowing, willful, malicious, and undertaken by NSS
for its own financial gain, and therefore CrowdStrike is entitled to exemplary damages and
reasonable attorney’s fees and costs

117. NSS’ actions have caused and will continue to cause CrowdStrike irreparable harm
if not preliminarily and permanently enjoined

118. CrowdStrike has no adequate remedy at law.

COUNT IV
(False Advertising under the Lanham Act (15 U.S. C. 6 1125))

119. CrowdStrike hereby restates the averments contained in the foregoing paragraphs
as if fully set forth herein

120. NSS’ statements, including those discussed above, are false and misleading

121. NSS’ statements, including those discussed above, constitute commercial
advertising or promotion, in that they invite customers to purchase NSS’ commercial products,
including subscriptions, reports, marketing rights to NSS’ public rankings and testing information,
and NSS’ CAWS product

122. NSS has a financial interest in misrepresenting its test policies and methodology,
and in misrepresenting that its unauthorized comparative testing of CrowdStrike’s Falcon Platform
adhered to those policies and methodology, NSS made and makes these false and misleading
statements to realize an economic gain, by using the statements to market and sell NSS’ own
commercial products, not for the purpose of informing the public.

123. NSS has made and continues to make the false and misleading statements for the
purpose of influencing consumers to buy NSS’ commercial products

124. NSS’ false and misleading statements are sufficiently disseminated to the relevant

purchasing public to constitute advertising or promotion within the cybersecurity industry, because

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NSS makes the statements on its website through which it sells its commercial products, as well
as in press releases, press interviews, and at trade events

125. NSS’ false and misleading statements actually deceived, or have tendency to
deceive, a substantial portion of NSS’ intended audience, because the statements Were directed to
and received by relevant consumers Who Were exposed to the claims through various channels

126. NSS ’ false and misleading statements are material in that they are likely to influence
purchasing decisions, because CrowdStrike’s and NSS’ existing and prospective customers are
likely to believe NSS’ false or misleading claims about its comparative tests, believe that NSS’
comparative testing of CrowdStrike’s Falcon Platform adhered to NSS’s published policies and
methodology, and believe that the Falcon Platform did not compare Well to competing products
based on that methodology, and such claims are likely to make a difference to such customers
CrowdStrike’s competitors in the marketplace have used NSS’ false statements to promote their
own products over CrowdStrike’s

127. NSS’ false and misleading statements are likely to have an impact on Falcon
Platform sales, because NSS’ claims are likely to cause CrowdStrike’s prospective or existing
customers to question the efficacy of CrowdStrike’s Falcon Platform and to purchase one of the
alternative products that NSS gives higher ratings instead of purchasing the Falcon Platform. NSS ’
false and misleading statements have been raised in the sales process and have required
CrowdStrike to address them.

128. The advertised goods-NSS’ subscriptions, reports, marketing rights, and CAWS
product, and CrowdStrike’s Falcon Platform--travel in interstate commerce.

129. As a direct and proximate result of NSS’ false or misleading statements,

CrowdStrike has been damaged, and is likely to continue to be damaged, including by damage to

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its reputation, loss of goodwill, and loss of sales, and NSS has been unjustly enriched CrowdStrike
is entitled to compensatory damages and any and all profits NSS made by its wrongful conduct, in
amounts to be proven at trial, and other equitable relief.

130. NSS’ false and misleading statements Were knowing willful, and malicious, and
made by NSS for its own financial gain, and therefore CrowdStrike is entitled to reasonable
attorneys’ fees and costs

131. NSS’ actions have caused and will continue to cause CrowdStrike irreparable harm
if not preliminarily and permanently enjoined

132. CrowdStrike has no adequate remedy at law.

COUNT V
LBreach of Contract)

133. CrowdStrike hereby restates the averments contained in the foregoing paragraphs
as if fully set forth herein

134. The Private Agreement between NSS and CrowdStrike, which incorporates NSS’
Terms of Service, is a valid and enforceable contract

135. CrowdStrike has fully performed or tendered all performance required under the
Private Agreement

136. On information and belief, NSS breached its obligations under the Private
Agreement and Terms of Service by using information about the Falcon Platform that NSS
obtained pursuant to the Private Agreement to develop, market, and sell NSS subscriptions, reports,
marketing rights, and CAWS product

137. NSS also breached its obligations under the Private Agreement by failing to return
or verify in writing the destruction of the Falcon software.

138. NSS also breached the Private Agreement by failing to perform the Private

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Agreement in a professional or workman like manner by conducting two tests that were admittedly
flawed and unacceptable

139. NSS has breached the implied covenant of good faith and fair dealing by acting to
deprive CrowdStrike of the benefits of the confidentiality and other provisions in the Private
Agreement

140. As a direct and proximate result of NSS’ breaches, CrowdStrike has been damaged,
and is likely to continue to be damaged, including by damage to CrowdStrike’s reputation, loss of
goodwill, and loss of sales, and NSS has been unjustly enriched CrowdStrike is entitled to
compensatory damages and disgorgement of any and all profits NSS made by its wrongful conduct,
in amounts to be proven at trial, and other equitable relief.

141. NSS’ actions have caused and will continue to cause CrowdStrike irreparable harm

 

if not preliminarily and permanently enjoined
142. CrowdStrike is entitled to specific performance

143. CrowdStrike has no adequate remedy at law.

COUNT VI
(Tortious I n terferen ce with Contract)

144. CrowdStrike hereby restates the averments contained in the foregoing paragraphs

 

as if fully set forth herein

145. CrowdStrike’s Terms and Conditions expressly forbid the use of authorized
credentials to access the Falcon Platform other than by the customer or its authorized
subcontractors, and expressly prohibit use of the Falcon Platform by or on behalf of competitors, t

for competitive analysis, and by anyone other than the customer except for specified internal

 

purposes of the customer.

146. Thomason, and/or_ had to, and on information and belief, did click to

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accept CrowdStrike’s Terms and Conditions When they activated login credentials to the Falcon
Platform, and before downloading the Falcon Agent software ln addition, - Quote
and subsequent Purchase Order for the Falcon Platform, signed by Thomason_
_.

147. NSS was provided with a copy of CrowdStrike’s customer Terms and Conditions,
and informed in writing about their provisions, prior to NSS’ unauthorized access to the Falcon
Platform for comparative testing

148. NSS was aware that CrowdStrike’s Terms and Conditions forbid all customers from
providing Falcon Platform access (including Falcon Agent software, related trade secrets or
confidential information) to third parties, and prohibit Falcon Platform access or use by
competitors, for competitive analysis, and by anyone other than the customer except for specified
internal purposes of the customer, because CrowdStrike told NSS about those prohibitions prior
to NSS’ unauthorized access to the Falcon Platform for comparative testing

149. Nonetheless, NSS induced one or more third parties (e.g., Thomason and/or
_ to obtain access to the Falcon Platform, and to provide NSS with access to the
Falcon Platform, including Falcon Platform credentials and Falcon Agent software in violation of
CrowdStrike’s Terms and Conditions

150. NSS obtained access to the Falcon Platform, including obtaining Falcon Platform
credentials and a copy of the Falcon Agent software, from or through _ and/or
Thomason after being told by CrowdStrike that such acts would violate the customer’s Terms and
Conditions of service, thereby inducing a breach of the third parties’ contractual obligations to
CrowdStrike.

151. NSS repeatedly used the Falcon Agent software and repeatedly accessed the Falcon

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Platform using credentials obtained from the third parties after being by CrowdStrike that such
acts would violate the customer’s Terms and Conditions of service, thereby inducing a breach of
the third parties’ contractual obligations to CrowdStrike.

152. ln addition, NSS claims that the third parties knew that NSS would obtain access to
the Falcon Platform and Falcon Agent software through their actions, demonstrating that NSS
intentionally and willfully caused the third parties to violate their contractual obligations to
CrowdStrike.

153. NSS has refused to return or destroy the copy of the Falcon Agent software obtained
through the third parties, and any data obtained through its unauthorized access, even after
receiving explicit instructions from both CrowdStrike and Thomason to do so.

154. NSS did not secure CrowdStrike’s permission to use data obtained from the Falcon
Platform in NSS’ AEP comparative test or CAWS product

155. On information and belief, NSS used data from the Falcon Platform that NSS
obtained access to without authorization through Thomason and_ to develop, market,
and sell NSS subscriptions, reports, marketing rights, and CAWS product

156. NSS had no justification for its actions

157. As a direct and proximate result of NSS’ tortious interference with CrowdStrike’s
contractual relationships, CrowdStrike has been damaged, and is likely to continue to be damaged,

including by damage to its reputation, loss of goodwill, and loss of sales, and NSS has been

 

unjustly enriched CrowdStrike is entitled to compensatory damages and disgorgement of any and
all profits NSS made by its wrongful conduct, in amounts to be proven at trial, and other equitable

relief

 

158. NSS’ actions have caused and will continue to cause CrowdStrike irreparable harm

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if not preliminarily and permanently enjoined

159. CrowdStrike has no adequate remedy at law.

COUNT VII
(Common Law Fraudl

160. CrowdStrike hereby restates the averments contained in the foregoing paragraphs
as if fully set forth herein
161. In early 2016, CrowdStrike entered into the Private Agreement with NSS, and

provided NSS labs With limited access to its Falcon Platform, solely for the purpose of private

testing The Private Agreement made clear that _

162. Because NSS repeatedly failed to perform testing in a competent fashion, and twice
provided results that were admittedly flawed and unacceptable, CrowdStrike never provided any
such_ to NSS, Rather, CrowdStrike expressly told NSS that it
was not authorized to access the Falcon Platform for comparative testing

163. Because CrowdStrike would not authorize comparative testing in or before
December 2016, NSS (on information and belief, through its CEO, Vikram Phatak and/or CTO,
Jason Brvenik) engaged David Thomason to find a company willing to pose as a customer, enter
into a Falcon Platform license with CrowdStrike, and then provide the access credentials to NSS.
According to NSS, NSS agreed with Thomason and - that it would pay for the
customer’s license if it could obtain covert access to the Falcon Platform.

164. On or about lanuary 5, 2016, pursuant to that side agreement with NSS and on NSS’

behalf, Thomason submitted a fraudulent purchase order for the Falcon Platform, ostensibly on
behalf of _ According to NSS, both Thomason and - knew that the

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license was being sought for NSS to gain access, and knew that NSS promised to pay for the
license Despite such knowledge NSS and Tliomason falsely identified - as the

_, concealing that NSS was real-party in interest seeking to gain

access to CrowdStrike products through the purchase order, The purchase order was also
knowingly fraudulent in suggesting Tliornascn was the -, concealing that-

_. On information and belief, Thomason knowingly never
intended to pay for the license because _ Yet, on
information and belief, NSS never intended to pay, and in fact has never paid -
_- Ottttttttttttttt
belief, NSS and Thomason knew the purchase order was fraudulent when they submitted it.

165. On information and belief, the submission of the fraudulent purchase order to
CrowdStrike was done at the direction cf NSS and for its benefit NSS and Thomason knew the
purchase order contained the above false statements and they intended CrowdStrike to rely on
them, so that CrowdStrike would not reject the order and NSS could illicitly gain access to the
Falcon Platform without CrowdStrike’s knowledge

166. CrowdStrike justifiably relied on the false representations in the purchase order
when it approved the purchase order and provided login credentials to the Falcon Platform to
Tliomason. CrowdStrike was unaware that NSS would be gaining access and CrowdStrike had no
way of knowing that the purchase was fraudulent and had been orchestrated by NSS to illicitly
obtain the credentials as that information was concealed from the purchase order and the
credentials request Had the purchase order identified NSS, CrowdStrike would not have approved
it.

167. As a direct and proximate result of NSS’ fraud, CrowdStrike was induced to enter

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into a license With- for the Falcon Platform. CrowdStrike is entitled to rescission of
the license agreement With-

168. As a further direct and proximate result of NSS’ fraud, NSS gained access to,
accessed and used CrowdStrike’s Falcon Platform without authorization, and illicitly gathered
confidential information about CrowdStrike’s products that NSS used to prepare, market and sell
reports and, on information and belief, used to build, market and sell its CAWS product NSS
used its fraudulent access to the CrowdStrike’S Falcon Platform for its own financial gain,
including unjustly profiting from its inclusion of information about CrowdStrike’s Falcon Platform
in NSS products CrowdStrike has been damaged, and is likely to continue to be damaged,
including by damage to its reputation, loss of goodwill, and loss of sales, and NSS has been
unjustly enriched. CrowdStrike is entitled to compensatory damages and disgorgement of all
profits NSS made by its Wrongful conduct, in amounts to be proven at trial, and other equitable
relief.

169. NSS’ actions have caused and Will continue to cause CrowdStrike irreparable harm
if not preliminarily and permanently enj oined.

l7(). CrowdStrike has no adequate remedy at law.

 

171. NSS ’s fraud was Willful and malicious
WHEREFORE, CrowdStrike prays for the following relief:
a. For the entry of a judgment compelling NSS to specifically perform its
obligations under the Private Agreement, to include returning or confirming in Writing

the destruction of all CrowdStrike software, credentials, passwords, etc.;

b. For entry of a preliminary injunction, and permanent injunction for the following
relief, or such other relief as the court may order:

 

(i) ordering NSS to refrain from accessing or using any CrowdStrike Falcon
Platform, trade secrets, or Confidential Information, for any purpose;

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(ii) ordering NSS to refrain from publishing any false or misleading statements
concerning NSS’ policies or methodology regarding its comparative tests, its adherence
to those policies or methodology, in its comparative test of CrowdStrike’s Falcon
Platform, the results of such test, or other information concerning CrowdStrike or its
technology or products;

(iii) ordering NSS to comply with all contractual terms including destruction or
return of the F alcon Agent software and any other CrowdStrike technology or
confidential information;

(iv) ordering NSS to refrain from using any data obtained from the Falcon
Platform in NSS’ private or comparative tests, subscriptions, reports, marketing rights,
or CAWS product; and,

(v) ordering NSS to identify all circumstances in which NSS has provided
CrowdStrike technology or information to third parties, and to ensure the return or
destruction of all such technology and information;

c. For such further relief as may be appropriate, including but not limited to:

(i) monetary damages;

(ii) exemplary damages;

(iii) disgorgement of NSS profits;

(iv) an accounting and constructive trust;

(v) prejudgment and post-judgment interest; and,

(vi) reasonable attorneys’ fees and costs.

Plaintiff demands a jury trial on all issues triable by jury.

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